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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


THE MCDONNEL GROUP, LLC       *                       CIVIL ACTION NO. 18-1380,
                              *                       c/w 19-2227, 19-2230, 19-10462
                              *                       (Applies to All Cases)
   VERSUS                     *
                              *                       SECTION: T
                              *                          Judge Greg G. Guidry
STARR SURPLUS LINES INSURANCE *
COMPANY                       *                       MAGISTRATE: 1
                              *                          Magistrate Janis van Meerveld
                              *
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                                           ORDER

       Considering the foregoing Unopposed Motion for Extension of Time to Produce

Responsive Documents;

       IT IS ORDERED that the Motion be, and it hereby is GRANTED, and the deadline to

produce the responsive documents, as set forth in this Court’s Order dated August 14, 2019 (Doc.

255), is hereby extended fourteen (14) days, or until September 27, 2019.

       New Orleans, Louisiana, this 11th day of September, 2019.




                                            JANIS VAN MEERVELD
                                            UNITED STATES MAGISTRATE JUDGE
